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                     EXHIBIT 1
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FirstName           LastName
Tallin              Abram
Alberto J           Aguirre
Angela Z            Almaraz
Ann Marie           Alvarez
Catrina             Anchondo
Tayarisha           Anderson
Carlos              Andrade
Dora J              Andrade
Sarah               Ara
Michael             Arredondo
Christine M         Aversa
Vanessa             Avina
Annahita            Ayria
Vardoosh V          Ayvazian
Nasser              Babolmoradi
Veronica E          Banks
Sheena L            Barden
Lary James          Bartley
Cortnie             Barton
Krystal             Bates
Latoya D            Bello Jones
Rocio               Bernal Yates
Cynthia             Betancourt
Elizabeth A         Boles
Romina A            Bollini
Amanda              Breceda
Colleen             Brown
Suzanne J           Brown
Tiffany M           Brown
Maya                Caguco
Keri                Callahan
Briana A            Campos
Helen               Campos
Vanessa C           Cao
Marisol             Capocciama
Samira              Carter
Tina L              Cates
Shu Lan             Cheng
Teresa L            Clemens
Deborah L           Cole
Delma M             Collins
Jacqueline          Cruz
Kimberly D          Dalton
Brooke A            Davila
Paula               De La Riva
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Adria E             Despres
Gabriela            Diaz
Jacqueline          Diskin
Brittany            Drake
Anh N               Duong Ho
Rhenesha J          Eagins
Ani                 Ebrahimianes
Sonya M             Ekblad
Golnar              Elias
Alex                Elizalde
Karlo M             Espino
Adriana             Ferreira Da Silveira
Evelyn              Ferriaolo
Christie Jan        Fleisher
Erin                Ford
Julissa             Fregoso
Marie A             Fuentes
Ritchie A           Fuentes
Kassandra L         Gandara
Maria               Garcia
Michele             Garcia
Miguel              Garcia
Yovana              Glavac
Alma                Gomez
Erin P              Gomez
Jessica             Gonzalez
Virian              Gonzalez Valdez
Cynthia             Gregory
Domonick F          Gross
Tammie L            Guarnieri
Scarleth            Guevara
Esperanza           Gurrola
Phuong Thi          Ha
Jessica             Hernandez
Sandra              Herrera
Elisa               Howes
Thu Maitinh         Huynh
Kimberly A          Jackson
Laura               Janik
Judith G            Jimenez
Alexandrea B        Johnson
Angel               Justice
Sylvia              Kahele
Sonia               Karapetian
Mane                Kasumyan
Jr James E          Kenny
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Stephanie           Kilgore
Theresa L           Lancaster
Trisha L            Landry
Chi Lan             Le
Stephanie           Lecount
Paul                Lenh
Viviana             Lopez
Lauren J            Lubrano
Ngan                Luong
Enedina             Magana
Lindsey L           Malamut
Crystal             Malone
Marjorie C          Manuel
Janelle             Maramag
Erika               Marin
Stacy               Marrissette
Monica              Martinez
Anahid              Matosyan
Sherry              Maurer
Kristen             Mcmilin
Alina               Medina
Chelsea             Milburn
Megan N             Miller
Debra I             Mitchell
Alexandra           Montiel
Valencia            Morales
Kirsten             Morgan
Alicia              Moser
Tracy               Myrow
Remy                Nazaryan
Jessica Nary        Ngan
Hong                Nguyen
Hung                Nguyen
Thanh Tan           Nguyen
Debbie H            Nicholson
Julie Sourichanh    Nomichith
Lorena              Ortega
Trina               Ortiz
Asha A              Osman
Terry               Pak
Kalena              Perez
Lisette             Perez Macias
Leeanne M           Petrics
Phuong              Phan
Lisa                Pierson
Melissa S           Poquiz
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Jesi                Powers
Veronica            Preciado
Karla A             Pritchett
Margarita           Prokopovich
Hillary A           Provenza
Natalie             Pulliam
Jamie V             Ramires
Liliana             Ramirez
Deanna R            Ramos
Bella               Reznik
Amanda C            Richardson
Chari P             Risley
Ginger              Rivera
Jeanne              Ro
Faimasasa Tana      Roache
Talia               Robles
Laurie              Rodriguez
Sharon              Ruscigno
Krystile            Saldana
Elizabeth           Sanchez
Natalia             Sanchez
Marco               Santos
Joel                Seaver
Yanira              Shoden
Jordan              Simensen
Geneva M            Slye
Jasmine A           Sorge
Savana              Spencer
Cindy               Stephens
Stephanie Y         Stephens
Angela              Stock
Dawnette            Tafolla
Nalee               Tangi
Tony X              Thanh
Cynthia             Thomas
Susana Y            Toro
Cuc T               Tran
Ngoc                Trinh
Cara                Underwood
Angela              Usher
Roselia M           Ventura
Jasmin              Vergara
Kristina Y          Villalobos
Veronica            Villegas
Tam                 Vo
Angelia D           Waite
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Tayler              Walker
Edmonia T           Watkins
Jeanette            Wendlandt
Taneka              Wood
Jennifer A          Yonker
Kathleen            Zabalza
Mitra               Zade
Laura               Zapata
Kimberly            Zimmerman
